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12
     Interim Co-Lead Counsel for Plaintiff Class
13

14                                 UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                         SAN JOSE DIVISION

17

18   IN RE: HIGH-TECH EMPLOYEE                        Master Docket No. 11-CV-2509-LHK
     ANTITRUST LITIGATION
19                                                    DECLARATION OF DEAN M. HARVEY
     THIS DOCUMENT RELATES TO:                        IN SUPPORT OF PLAINTIFFS’
20                                                    CONSOLIDATED REPLY IN SUPPORT
     All Actions                                      OF MOTION FOR CLASS
21                                                    CERTIFICATION AND IN OPPOSITION
                                                      TO DEFENDANTS’ MOTION TO STRIKE
22                                                    THE REPORT OF DR. EDWARD E.
                                                      LEAMER
23
                                                      Date:      January 17, 2013
24                                                    Time:      1:30 pm
                                                      Courtroom: 8, 4th Floor
25                                                    Judge:     Honorable Lucy H. Koh

26
     I, Dean M. Harvey, declare:
27
                 1.   I am an associate in the law firm of Lieff, Cabraser, Heimann & Bernstein, LLP,
28
     interim co-lead counsel for Plaintiffs and the proposed Class. I am a member of the State Bar of
                                                                                  HARVEY DECLARATION
     1069589.1
                                                                                     NO. 11-CV-2509-LHK
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 1   California, and am admitted to practice before the United States District Court for the Northern
 2   District of California. I make this declaration based on my own personal knowledge. If called
 3   upon to testify, I could and would testify competently to the truth of the matters stated herein.
 4   Deposition Testimony of Defendants
 5               2.    Attached hereto as Exhibit 1 is a true and correct copy of transcript excerpts from
 6   the deposition of Adobe witness Donna Morris, dated August 21, 2012.
 7               3.    Attached hereto as Exhibit 2 is a true and correct copy of transcript excerpts from
 8   the deposition of Adobe witness Jeffrey Vijungco, dated October 5, 2012, and Exhibit 303
 9   thereto.
10               4.    Attached hereto as Exhibit 3 is a true and correct copy of transcript excerpts from
11   the deposition of Apple witness Mark Bentley, dated August 23, 2012.
12               5.    Attached hereto as Exhibit 4 is a true and correct copy of transcript excerpts from
13   the deposition of Google witness Arnnon Geshuri, dated August 21, 2012.
14               6.    Attached hereto as Exhibit 5 is a true and correct copy of transcript excerpts from
15   the deposition of Pixar witness Pamela Zissimos, dated November 13, 2012.
16               7.    Attached hereto as Exhibit 6 is a true and correct copy of transcript excerpts from
17   the deposition of Apple witness Steve Burmeister, dated June 27, 2012.
18   Deposition Testimony of Named Plaintiffs
19               8.    Attached hereto as Exhibit 7 is a true and correct copy of transcript excerpts from
20   the deposition of Plaintiff Michael Devine, dated October 24, 2012.
21               9.    Attached hereto as Exhibit 8 is a true and correct copy of transcript excerpts from
22   the deposition of Plaintiff Mark Fichtner, dated October 15, 2012.
23               10.   Attached hereto as Exhibit 9 is a true and correct copy of transcript excerpts from
24   the deposition of Plaintiff Siddharth Hariharan, dated October 12, 2012.
25               11.   Attached hereto as Exhibit 10 is a true and correct copy of transcript excerpts from
26   the deposition of Plaintiff Brandon Marshall, dated October 22, 2012.
27               12.   Attached hereto as Exhibit 11 is a true and correct copy of transcript excerpts from
28   the deposition of Plaintiff Daniel Stover, dated October 29, 2012.

                                                                                      HARVEY DECLARATION
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 1   Deposition Testimony of Expert Witnesses
 2               13.   Attached hereto as Exhibit 12 is a true and correct copy of transcript excerpts from
 3   the deposition of Plaintiffs’ expert, Edward Leamer, dated October 26, 2012.
 4               14.   Attached hereto as Exhibit 13 is a true and correct copy of transcript excerpts from
 5   the deposition of Defendants’ expert, Kevin Murphy, dated December 3, 2012.
 6   Documents Produced by Defendant Adobe
 7               15.   Attached hereto as Exhibit 14 is a true and correct copy of ADOBE_001096-97.
 8               16.   Attached hereto as Exhibit 15 is a true and correct copy of ADOBE_008047-49.
 9               17.   Attached hereto as Exhibit 16 is a true and correct copy of ADOBE_008098-99.
10               18.   Attached hereto as Exhibit 17 is a true and correct copy of ADOBE_008692-93.
11               19.   Attached hereto as Exhibit 18 is a true and correct copy of ADOBE_009811-13.
12   Documents Produced by Defendant Apple, Inc.
13               20.   Attached hereto as Exhibit 19 is a true and correct copy of 231APPLE016220-21.
14               21.   Attached hereto as Exhibit 20 is a true and correct copy of 231APPLE039426-28.
15               22.   Attached hereto as Exhibit 21 is a true and correct copy of 231APPLE080776-77.
16   Documents Produced by Defendant Google
17               23.   Attached hereto as Exhibit 22 is a true and correct copy of GOOG-HIGH-TECH-
18   00201276-77.
19               24.   Attached hereto as Exhibit 23 is a true and correct copy of GOOG-HIGH-TECH-
20   00248336-37.
21               25.   Attached hereto as Exhibit 24 is a true and correct copy of GOOG-HIGH-TECH-
22   00252601-04.
23               26.   Attached hereto as Exhibit 25 is a true and correct copy of GOOG-HIGH-TECH-
24   00027965-27994.
25   Documents Produced by Defendant Intel
26               27.   Attached hereto as Exhibit 26 is a true and correct copy of 76579DOC005956-968.
27               28.   Attached hereto as Exhibit 27 is a true and correct copy of 76592DOC015613-
28   15636.

                                                                                      HARVEY DECLARATION
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 1               29.    Attached hereto as Exhibit 28 is a true and correct copy of 76606DOC000420-22.
 2   Documents Produced by Defendant Intuit
 3               30.    Attached hereto as Exhibit 29 is a true and correct copy of INTUIT_035842.
 4   Documents Produced by Defendant Lucasfilm
 5               31.    Attached hereto as Exhibit 30 is a true and correct copy of LUCAS00035991-92.
 6   Other
 7               32.    Attached hereto as Exhibit 31 is a true and correct copy of the Department of
 8   Justice’s Complaint in United States v. Ebay, Inc. No. 12-cv-05869-EJD (N.D. Cal. November
 9   16, 2012) (Dkt. No. 1).
10               33.    Attached hereto as Exhibit 32 is a true and correct copy of the Complaint in
11   California v. Ebay, Inc., No. 12-cv-05874-PSG (N.D. Cal. November 16, 2012) (Dkt. No. 1).
12               34.    Attached hereto as Exhibit 33 is a true and correct copy of Joseph Stiglitz,
13   Information and the Change in the Paradigm in Economics, The American Economic Review,
14   Vol. 92, No. 3 (Jun., 2002).
15               35.    Attached hereto as Exhibit 34 is a true and correct copy of the March 14, 2012
16   Letter from Dean M. Harvey to Defense Counsel, and the March 26, 2012 Letter from Cody
17   Harris to Dean M. Harvey.
18               I declare under penalty of perjury under the laws of the United States that the foregoing is
19   true and correct.
20               Executed December 10, 2012, in San Francisco, California.
21

22                                                             /s/ Dean M. Harvey
                                                               Dean M. Harvey
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                                                                                        HARVEY DECLARATION
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